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FILED

JUN | | 2024
UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF WEST VIRGINIA a :
ORY L PEAAY I, CLEAR

CHARLESTON GRAND JURY 2024 Southem Distret Of Wes Virginia

JUNE 11, 2024, SESSION

UNITED STATES OF AMERICA

v. crIMINAL No. 2. 24~-cCy-cocGS
21 U.S.C. 841 (a) (1)

BRIAN MCDEVITT, D.O.
INDICTMENT
The Grand Jury Charges:
COUNT ONE

On or about May 1, 2023, at or near Chapmanville, Logan
County, West Virginia, and within the Southern District of West
Virginia, defendant BRIAN MCDEVITT, D.O., a registrant authorized
to dispense controlled substances, knowingly and intentionally
distributed a quantity of Clonazapam, also known as "Klonopin," a
Schedule IV controlled substance, outside the scope of
professional practice and not for a legitimate medical purpose.

In violation of Title 21, United States Code, Section

841 (a) (1).
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COUNT TWO

On or about June 12, 2023, at or near Chapmanville, Logan
County, West Virginia, and within the Southern District of West
Virginia, defendant BRIAN MCDEVITT, D.O., a registrant authorized
to dispense controlled substances, knowingly and intentionally
distributed a quantity of Clonazapam, also known as "Klonopin," a
Schedule IV controlled substance, outside the scope of
professional practice and not for a legitimate medical purpose.

In violation of Title 21, United States Code, Section

841 (a) (1).

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COUNT THREE

On or about July 3, 2023, at or near Chapmanville, Logan
County, West Virginia, and within the Southern District of West
Virginia, defendant BRIAN MCDEVITT, D.O., a registrant authorized
to dispense controlled substances, knowingly and intentionally
distributed a quantity of Clonazapam, also known as "Klonopin," a
Schedule IV controlled substance, outside the scope of
professional practice and not for a legitimate medical purpose.

In violation of Title 21, United States Code, Section

841 (a) (1).

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FORFEITURE

The allegations contained in Counts One, Two, and Three of
this Indictment are hereby realleged and incorporated by reference
for the purpose of alleging forfeiture pursuant to 21 U.S.C. §
853(a) and 28 U.S.C. § 2461(c).

Pursuant to 21, U.S.C. § 853(a), 28 U.S.C. § 2461(c) and Rule
32.2(a) of the Federal Rules of Criminal Procedure, and premised
upon conviction of defendant BRIAN MCDEVITT, D.O., of the offenses
in violation of 21 U.S.C. § 841(a) (1), defendant BRIAN MCDEVITT,
D.O., shall forfeit to the United States of America, any property,
real or personal, constituting, or derived from, any proceeds
traceable to the violations charged herein or, involved in or used
to facilitate the commission of the offenses.

The property to be forfeited may include, but is not limited

to:

1. Defendant’s medical license to practice medicine issued
to him by the State of West Virginia, Medical License
No. 1665, issued in the name of Brian McDevitt.

2. The real property known as Chapmanville Medical Center
located at 384 Main St., Chapmanville, WV 25508 descried
as follows:

All of that certain lot or parcel of real estate,
together with all and singular the improvements thereon
and the appurtenances thereunto belonging or in any
manner thereunto appertaining, situate, lying and being
in the town of Champanville, Guyan District, Logan
County, West Virginia, more particularly described as
follows:

BEGINNING at an iron pin at the point of intersection
of the East line of W. Va. Route 10 and Elaine Drive;

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thence, with the South Line of Elaine Drive N. 88° 00’
BE. 111.4 feet to an iron pin; thence S. OP 05’ W 148.6
feet to an iron pin; Thence N. 82° 55’ Wi1 1 0.0 feet
to an iron pin on the East line of said State Route 10;
thence, with the East boundary line of said State Route
10, N 7° 05’ E 131.0 feet to the place of beginning;
together with all and singular the improvements thereon
and the appurtenances thereunto belonging or in any
manner thereunto appertaining.

And being the same property conveyed to Brian J.
McDevitt by Witael Limited Partnership, a Nevada limited
partnership by a deed dated July 12, 2004, and recorded
in the office of the Clerk of the County Commission of

Logan County, West Virginia in Deed Book 568 at page
717.

Pursuant to 21 U.S.C. § 853(p), as incorporated by 28
U.S.C. § 2461(c), if any of the property described above, as a

result of any act or omission of a defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred, sold to, or deposited with, a third
party;

Cc. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be

divided without difficulty,
the United States intends to seek forfeiture of any other property

of the defendant up to the value of the forfeitable property

described above.

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WILLIAM S. THOMPSON
United States Attorney

By: eh 2 Lo.

OWEN A. “REYNOLDS”
Assistant United States Attorney

